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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


  UNITED STATES OF AMERICA                       :    Crim. No. 3:16CR220 (AWT)
                                                 :
         v.                                      :
                                                 :
  DAVID DEMOS                                    :    March 23, 2018

     GOVERNMENT’S REPLY IN SUPPORT OF ITS MOTION TO ADMIT
  UNCHARGED TRADES AS “OTHER CRIMES” EVIDENCE UNDER F.R.E 404(B)

       The Government submits this reply in further support of its motion to admit under Fed.

Rule Evid. 404(b) documents and testimony concerning certain of defendant David Demos’s

uncharged RMBS trades containing relevant misrepresentations and admissions. Demos asks the

Court to preclude evidence he has known about for months and that directly rebuts his arguments.

       A.      Materiality

       Demos incorrectly asserts that 404(b) evidence is not admissible to prove materiality.

       The text of Rule 404(b) does not purport to exhaustively list every proper purpose for

admitting evidence of the defendant’s other crimes. Fed. R. Crim. P. 404(b)(2) (“This evidence

may be admissible for another purpose, such as proving motive, opportunity, intent,” etc.). Indeed,

the Second Circuit has expressly stated that evidence of other crimes or acts is admissible for “any

purpose other than to show a defendant’s criminal propensity, as long as the evidence is relevant

and satisfies the probative-prejudice balancing test.” United States v. Inserra, 34 F.3d 83, 89 (2d

Cir. 1994).

       The parties agree that materiality will be a disputed issue at trial. The Government is

entitled to lay the groundwork to enable the jury to find that Demos’s misrepresentations were of

such importance that they could reasonably be expected to cause a reasonable investor to act or

not act in some way with respect to the charged transactions. Evidence is probative of that issue if
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it helps establish that the victims in the charged trades were not behaving unusually in believing

Demos’s lies and in relying on the false information he provided to determine prices in those

particular instances. The uncharged trades will establish that the victims and other reasonable

RMBS investors did so on other occasions under similar circumstances. And more, where a victim

of a charged trade was also the victim of an uncharged trade, evidence of the latter will corroborate

their expected testimony that the false information provided by Demos caused them to take some

action or was otherwise important in their decision-making. Where Demos will dispute that the

testifying victims behaved like a reasonable investor, evidence that in other trades they and other

RMBS investors behaved the exact same way is crucial evidence of materiality.

        B.       Intent

        The Government argued that other fraudulent trades—including those in which Demos

sought to cover up his misrepresentations—circumstantially proves, among other things, his intent.

In his opposition, Demos states several times that intent is not in dispute. Opp. at 10-12. But Demos

also states that he “maintains that his intent was not culpable.” Opp. at 11.1

        The Government has the burden of proving that Demos “acted knowingly, willfully, and

with intent to defraud.” Sand et al., Modern Federal Jury Instructions (2008), Instr. 57-20. If

Demos concedes that he acted with the requisite intent he should say so plainly. But if he disputes

some aspect of this intent standard—such as willfulness—then evidence that he took steps to




    1
       Demos also claims that knowledge for purposes of 404(b) is only a proper purpose where either knowledge is
part of mens rea or “past knowledge is relevant to explain current knowledge.” Opp. at 11. The Government knows
of no authority for this restrictive interpretation of “knowledge” under 404(b), and Demos cites none. Moreover, even
if this were a true statement of the law, it is unhelpful to Demos: the mens rea required here includes knowledge,
specifically “an awareness of the general wrongfulness of his conduct.” United States v. Kaiser, 609 F.3d 556, 569
(2d Cir. 2010). Thus, a proper purpose of the Demos’s admissions and conduct in the uncharged trades—including
taking steps to conceal his misrepresentations from victims—is to show that he acted with knowledge that he was
doing something wrongful.

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conceal his misrepresentations from his victims is probative circumstantial evidence of a disputed

issue.

         C.     Opportunity

         Demos argues that opportunity is not in dispute. In saying this, Demos misconstrues the

meaning of “opportunity” in this case, which was not a matter of access to a location or a weapon,

but to certain information.

         Part of the Government’s theory is that Demos took advantage of the structure of the RMBS

market, which puts broker-dealers at an informational advantage over investors. Demos had access

to pricing information from both the seller and the buyer in a trade, while each of them knew only

what Demos chose to tell them. Demos, including through his expert witness, will argue that

victims had other sources of information that they could have employed to ferret out the truth if

they had cared, and thus did not believe or rely on Demos’s false information. Def’s Nov. 9, 2017

Expert Notice at 4 (“Dr. Fabozzi would also opine that, despite the generally opaque nature of the

RMBS market, market participants such as the counterparties identified in the Indictment, had

access to multiple sources of RMBS pricing information, including information provided by

dealers;…[and] discussions with other market participants….”). The uncharged trades refute this

argument and establish that Demos had and took advantage of this opportunity in two ways. First,

they are proof that Demos claimed to be acting as an intermediary with his victims, supposedly

relaying information back and forth in exchange for a separately-negotiated amount of

“commission” or “pay on top.” And second, they are proof that, in that purported role, Demos was

able to deceive buyers and sellers about each other’s price negotiations without detection,

including by taking steps to cover up the information he was misrepresenting.




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         D.       Unfair Prejudice

         Demos misleadingly portrays the Government’s potential evidence of uncharged trades as

threatening to overwhelm the rest of the trial and thus inadmissible under Rule 403.2

         First, Demos exaggerates the trial burden posed by the Government’s uncharged trade

evidence. If the uncharged evidence is admitted, the Government would need to call, at most, four

additional witnesses, not eight, as Demos suggests.3 See Opp. at 6. Indeed, depending on timing

and witness availability, the Government may well introduce uncharged trade evidence without

calling any additional witnesses.

         Second, Demos ignores that a portion of the uncharged trade evidence is part of both

parties’ anticipated evidence. For instance, three witnesses relevant to the uncharged trades

(Abrams, Konaris, and Ulmer) are on both the Government and the defense witness lists. Likewise,

documents concerning two of the eight uncharged trades (numbered 4 and 6 in the Government’s

motion) are on the defense list as part of a composite exhibit (DX32).4 Demos also ignores that six

of the eight uncharged trades concern either Marathon or DW Investments, the victims in Counts

One through Three.

         The Government’s best estimate is that its uncharged trade evidence would add less than

two trial days to its two-week case-in-chief. In this context, the evidence at issue is not so

voluminous as to be substantially more prejudicial than probative.




    2
        Demos also inaccurately claims that the Government intends to call every witness or introduce every exhibit at
trial. The Government did its best to strike a balance between preserving flexibility and giving Demos fair notice of
its case-in-chief. The Government is currently working on an updated and more targeted witness list, but under no
circumstances does it intend to call every witness or introduce every exhibit.
      3
        Assuming Demos stipulates to the authenticity of the documents.
      4
        Lest this reference be mistaken for an implicit concession, the Government will likely object to the admission
of DX32, which (like DX36) is a binder of various RMBS trades assembled by Cantor Fitzgerald’s outside counsel.

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                                        CONCLUSION

       For the reasons set forth above and in the Government’s motion, the Government

respectfully requests that the Court allow the Government to offer evidence of the eight uncharged

trades under 404(b).

                                                 Respectfully submitted,

                                                 JOHN H. DURHAM
                                                 UNITED STATES ATTORNEY

                                                            /s/
                                                 HEATHER L. CHERRY
                                                 ASSISTANT UNITED STATES ATTORNEY
                                                 Federal Bar No. phv07037
                                                 heather.cherry@usdoj.gov
                                                 JONATHAN N. FRANCIS
                                                 ASSISTANT UNITED STATES ATTORNEY
                                                 Federal Bar No. phv05083
                                                 jonathan.francis@usdoj.gov
                                                 157 Church Street, 25th Floor
                                                 New Haven, CT 06510
                                                 Tel.: (203) 821-3700




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on March 23, 2018, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s CM/ECF System.



                                                            /s/
                                                     HEATHER L. CHERRY
                                                     ASSISTANT UNITED STATES ATTORNEY




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